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        ANOVOS PRODUCTIONS, LLC
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    7
                                  UNITED STATES DISTRICT COURT
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                                 CENTRAL DISTRICT OF CALIFORNIA
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        RICHARD DALTON, MATTHEW                 Case No. 2:19-cv-04821- MWF(KSx)
   11   FERNANDES, ANDRE JOSEPH,
        ALEXANDER ALONSO, AND
   12   RANDOLPH JONES, individually and        DECLARATION OF EUGENE
        on behalf of all others similarly       ROME IN SUPPORT OF BRIANNA
   13   situated,                               DAHLBERG’S UNOPPOSED
                                                MOTION TO WITHDRAW AS
   14              Plaintiffs,                  COUNSEL FOR ANOVOS
                                                PRODUCTIONS, LLC
   15         v.
                                                Hon. Michael W. Fitzgerald
   16   ANOVOS PRODUCTIONS, LLC                 DATE: May 24, 2021
        DISNEY LUCASFILM LTD.,                  TIME: 10:00 a.m.
   17   NBCUNIVERSAL MEDIA, LLC,
        AND CBS STUDIOS, INC.,
   18
                   Defendants.
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   31      DECLARATION OF EUGENE ROME IN SUPPORT OF MOTION TO WITHDRAW
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    1 I, Eugene Rome, declare:
    2         1.     I am an attorney at law duly licensed to practice law in the State of
    3 California. I am the principal of Rome & Associates, A.P.C. and was formerly
    4 counsel of record for Defendant Anovos Productions, LLC (“Anovos”) in this
    5 action. I have personal knowledge of the facts set forth in this Declaration and, if
    6 called as a witness, could and would testify competently to such facts under oath.
    7         2.     This case settled in August 2020. Despite the case having resolved long
    8 ago, Anovos continues to owe Rome & Associates a substantial outstanding balance
    9 for legal fees pursuant to the engagement letter it entered into with the firm.
   10 Although Rome & Associates has demanded payment, Anovos has failed to pay.
   11         3.     On March 31, 2021, Plaintiffs filed a motion to reopen the case alleging
   12 that Defendant has failed to pay settlement payments to Plaintiffs. ECF No. 79.
   13 Rome & Associates provided notice of Plaintiffs’ motion to Anovos.
   14         4.     I communicated with Anovos on April 8, 2021 and explained that if it
   15 did not pay its outstanding balance, Rome & Associates would formally withdraw
   16 as its counsel of record. I advised Anovos that, as an entity, it cannot represent itself
   17 in the action. I further advised Anovos of the consequences of not retaining legal
   18 counsel in this matter. Anovos has not paid its outstanding balance.
   19         5.     The firm’s continued representation of Anovos will result in an
   20 unreasonable financial burden to Rome & Associates because of its failure to pay its
   21 legal bills, despite demands for payment being made and a warning of withdrawal
   22 being given.
   23         I declare under penalty of perjury that the foregoing is true and correct, and
   24 was executed this 23rd day of April 2021.
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   26                                    By: /s/ Eugene Rome
   27                                            Eugene Rome

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            DECLARATION OF EUGENE ROME IN SUPPORT OF MOTION TO WITHDRAW
